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  1   Baruch C. Cohen, Esq. (SBN 159455)
      LAW OFFICE OF BARUCH C. COHEN
  2           A Professional Law Corporation
      4929 Wilshire Boulevard, Suite 940
  3   Los Angeles, California 90010
      (323) 937-4501        Fax (888) 316-6107
  4   e-mail: baruchcohen@baruchcohenesq.com
  5   Attorneys for Secured Creditor YCCS, LLC.
  6
  7
  8                                 UNITED STATES BANKRUPTCY COURT
  9                                    CENTRAL DISTRICT OF CALIFORNIA
 10                                          LOS ANGELES DIVISION
 11
 12    In re                                             Case No. 2:19-bk-10119-RK

 13    DAVID LEE,                                        Chapter 11

 14                           Debtor                     YCCS’ OPPOSITION TO DEBTOR’S
                                                         MOTION FOR ORDER AUTHORIZING
 15                                                      DEBTOR TO OBTAIN CREDIT PURSUANT
                                                         TO 11 U.S.C. § 364(C)(2) [DOC-239];
 16                                                      DECLARATIONS OF CURTIS DEWEESE
                                                         AND BARUCH C. COHEN
 17
                                                         DATE:        1-28-2020
 18                                                      TIME:        11:00 a.m.
                                                         CTRM:        1675
 19
                    YCCS, LLC, a Hawaiian Limited Liability Co. (“YCCS”) hereby responds to the Motion
 20
      (“Motion”)[Doc-239] of David Lee, debtor and debtor in possession (“Debtor”) for Order
 21
      Authorizing Debtor to Obtain Credit Pursuant to 11 U.S.C. § 364(c)(2) as follows:
 22
                    The Motion is fatally flawed procedurally and substantively and must be denied. From a
 23
      procedural standpoint, as stated in YCCS’ Response to Debtor’s Status Report Regarding Relief
 24
      from Stay Motion filed by YCCS [Doc-234]: all sums under YCCS’s Note were due and payable
 25
      on or before 12-1-2019; YCCS has not been paid any interest, fees or amounts due for many.
 26
      many months (even as of the 12-1-2019 deadline); the Debtor’s failure to pay the sums due under
 27
      the Note is an incurable default; the Debtor cannot formulate a plan of reorganization because
 28
      YCCS’ Note cannot be modified pursuant to 11 U.S.C. § 1123(b)(5); any plan at this late point in

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  1   time involving the Property would violate 11 U.S.C. § 1129; and YCCS has presented evidence
  2   of cause under 11 U.S.C. § 362(d)(1) that the Lift Stay Motion be granted.
  3             The Debtor’s inability to pay timely his debt to YCCS was raised at the prior 12-10-2019
  4   continued hearing re: Motion for Relief from Stay and the Debtor’s Motion to Refinance the
  5   Property and pay YCCS. At that hearing on 12-10-2019, the Court expressed concern about the
  6   Debtor’s (in)ability to pay YCCS and would give him only a few weeks to perform. Specifically,
  7   the Court acknowledged the above and stated as follows:
  8             THE COURT: Well, as I said -- yeah. I said in the tentative, because the loan has
                matured, and this is a loan secured by the principal residence of the Debtor as of
  9             the date of the petition, it’s non-modifiable in a plan. But Debtor can still take
                out the loan, but, you know, we’re getting to a year into the case, and we’re
 10             getting to the point whether it may be futile if the Debtor’s had a year.
 11             So, at this point, the Court knows, and I think everyone knows, that you cannot
                confirm a plan over the objection or to modify the loan of this creditor, but the
 12             Debtor can try to realize the equity in the property through taking out the lender.
 13             So, the question is, what is a reasonable time that this could happen? Because, if
                it’s futile, then I should grant relief from stay based on the cases that I cited in
 14             the tentative. [Emphasis added].
 15   [Transcript, p. 2, lines 13-25, p.3, lines 1-3].
 16             THE COURT: But it seemed to me that the Court was going to allow Debtor a
                reasonable time to, one last chance to obtain financing, because, as I said, we’re
 17             getting long, pretty far along in this case, over a year, and the Debtor’s had an
                opportunity to obtain refinancing. [Emphasis added].
 18
      [Transcript, p. 11, lines 12-16].
 19
                Those weeks have come and gone, and there has been no payment to YCCS. Instead of
 20
      accepting “one last chance to obtain financing” the Debtor filed a new credit motion and now
 21
      seeks a further extension of time to pay YCCS. December 1, 2019 was the deadline for payment
 22
      to YCCS. The Debtor has not timely paid YCCS, and the Debtor’s Motion must be denied.
 23
                Assuming arguendo that the Motion was timely, which is not the case, the Motion would
 24
      have to be denied substantively because there is simply not enough money in the proposed credit
 25
      transaction to pay the arrearage to Selene Finance, LP (“Selene”) and the total outstanding
 26
      balance due to YCCS, which as of February 1, 2020, is approximately $526,108.60. See
 27
      Declaration of Curtis DeWeese and breakdown of claim attached as Exhibit 1. The loan
 28


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  1   proceeds of $620,000 and the Debtor’s additional contribution of $20,000 are not enough. The
  2   breakdown is as follows:
  3    Total Loan Proceeds and Debtor Contribution           $640,000
  4    Less: Points, Costs, Fees, and Property Taxes         $40,000
  5    Net Proceeds                                          $600,000

  6    Payment to Selene                                     $97,000
       Payment to YCCS                                       $526,000
  7
       Balance                                               -($23,000)
  8
                In his declaration at 15:2-6, the Debtor indicates that the gross loan proceeds and up to
  9
      $20,000 of the Estate’s funds will be used to pay the arrearage to Selene of approximately
 10
      $97,000, satisfy in full the YCCS’ claim of approximately $500,000 (which is $26,000 too low),
 11
      and pay any outstanding property taxes, which YCCS believes would be at least $4,000.
 12
      However, the Debtor must also pay points of $31,000, fees of $2,940, and any other costs
 13
      associated with the escrow, not to mention additional attorneys’ fees for Selene. Even if the
 14
      Debtor continues to make monthly post -petition payments to Serene, the Debtor will face a
 15
      shortfall of at least $23,000 and will not have enough money to pay in full YCCS.
 16
                There is no basis to defer payment of attorneys fees to YCCS. There is no assurance that
 17
      the Debtor will have sufficient funds to pay in full those fees if and when they are awarded. The
 18
      Debtor had access to the breakdown and took no action to challenge or oppose the fees.
 19
                The Debtor seeks to resolve this problem by claiming that he can reserve his rights and
 20
      later challenge the amount owed to YCCS. In the Lee Declaration, footnote 2, 12:27-28, the
 21
      Debtor states, “ I do not know what those fees and costs may be , but upon receiving an updated
 22
      schedule, I reserve the right to object to the same at an appropriate time.” This statement is an
 23
      outright fabrication. This issue was raised in the prior credit motion, and on November 10, 2019,
 24
      a complete breakdown of all costs and fees was forwarded to counsel for the Debtor in YCCS’
 25
      Supplemental Points and Authorities in Support of Motion of Yccs, LLC for Relief from the
 26
      Automatic Stay [Docket 108]; Declaration of Curtis Deweese in Support Thereof [Doc-221]. See
 27
      Declaraton of Baruch Cohen. For the Debtor to claim that he had no idea of the specific costs and
 28


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  1   fees YCCS incurred is absolutely false. The Motion must be denied.
  2             Additional concerns with the Debtor’s Motion:
  3             (1) Most proposed loan transactions have an estimated closing statement. Here, the
  4   Debtor refers to specific numbers for costs and fees but provides no detail regarding what those
  5   numbers are.
  6             (2) There is no express demand from Selene. Normally, a secured creditor would provide
  7   a breakdown, and that was stated in the Motion. Are there additional costs and fees which
  8   Selene will demand? That will increase the sum owed and deepen further the shortfall.
  9             (3) If the Debtor lied regarding the attorneys fees, what else is not true? What was the
 10   real reason the Debtor could not get a new loan? He states it is because the property is in
 11   bankruptcy. His declaration on this point is pure hearsay and YCCS objects to it on that ground.
 12             (4) In the Debtor’s Motion, the Debtor uses a $500,000 amount due to YCCS. Yet, in the
 13   Debtor’s declaration, he states that YCCS is owed $500,000-$525,000.
 14             (5) The Debtor refers to the loan as filled with bells and whistles and outrageous fees.
 15   YCCS addressed this in its Limited Opposition of YCCS, LLC to Debtor’s Motion [Doc-195] for
 16   Order Authorizing Debtor to Obtain Credit Pursuant to 11 U.S.C. § 364(c)(2) [Doc-211] where
 17   YCCS argued:
 18
                The Debtor should not be allowed to withhold funds and challenge the secured
 19             claim of YCCS because the Debtor may not have sufficient funds to “completely
                satisfy” all claims with respect to the Residence, as the body of the Finance
 20             Motion emphasizes is the required goal.
 21             In order to avoid any issue regarding the amount due under the Note, YCCS
                provided a detailed breakdown of all charges due under the Note [something that
 22             the Debtor had never previously requested from YCCS]. Curtis DeWeese, the
                principal of YCCS, prepared the breakdown of the claim, which breakdown is
 23             attached as Exhibit 1 to the Declaration of Mr. DeWeese. At 8:06AM on Sunday
                morning 11-10-2019, Baruch Cohen, counsel for YCCS, forwarded a copy of the
 24             detailed breakdown to Mr. Tilem, counsel for the Debtor. Mr. Tilem has not
                questioned or contacted Mr. Cohen regarding any of the entries on the breakdown,
 25             and rightfully so. Although the Debtor claims that the Note is full of “bells and
                whistles,” YCCS simply and clearly charged the Debtor for delinquent interest,
 26             advances to third parties as permitted under the Note, and reasonable costs and
                attorneys fees.
 27
                The bottom line is that YCCS was supposed to be paid in full on or before December 1,
 28


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  1   2019, and the Debtor, who had over seven-months notice from YCCS that the date would not be
  2   extended, waited until the last minute to seek to refinance the Property. When the initial
  3   refinancing fell through, and after the Court expressly stated that the Debtor’s prior financing
  4   motion was “one last chance to obtain financing”, the Debtor filed this Motion which on its face
  5   does not provide sufficient funds to pay YCCS in full.1 The Debtor’s Motion must be denied.
  6
  7   DATED:         January 25, 2020               LAW OFFICE OF BARUCH C. COHEN
                                                    A Professional Law Corporation
  8
                                                    By     /S/ Baruch C. Cohen
  9                                                 Baruch C. Cohen, Esq.
                                                    Attorneys for Secured Creditor YCCS, LLC
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 24
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 26
                1
               The Debtor’s last-ditch effort to try and sell the Property would cause even greater delay
 27   and uncertainty. The Debtor did not even bother to seek employment of a broker until
      approximately six weeks after all sums under the Note were due. The Debtor cannot and should
 28
      not be rewarded for his failure to take timely action to sell or refinance the Property.

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  1                               DECLARATION OF CURTIS DEWEESE
  2             I, Curtis DeWeese, declare as follows::
  3   1.        I am the managing member of YCCS, LLC, a Hawaiian limited liability company. If
  4             called upon as a witness, I could and would testify to the following, all of which is within
  5             my personal knowledge.
  6   2.        I am the principal owner of YCCS LLC, a Hawaiian Limited Liability Company
  7             (hereinafter referred to as “YCCS”), which holds a 2nd Deed of Trust dated 11-14-2017,
  8             that was executed by the Debtor in favor of YCCS as beneficiary, that was recorded on
  9             11-21-2017, as Instrument No. 20171343125, on the Debtor’s property located at 840
 10             South Dunsmuir, Los Angeles, CA 90036.
 11   3.        I have been involved in real estate transactions for approximately 32 years. I have dealt
 12             with all aspects of real property transactions, including refinancing property and
 13             obtaining loans for junior liens on properties. My primary experience is in real estate
 14             development, construction, financing and workouts throughout the western United States
 15             on behalf of institutional parties and on my own account.
 16   4.        This declaration is support of YCCS’ OPPOSITION TO DEBTOR’S MOTION FOR
 17             ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT PURSUANT TO 11
 18             U.S.C. §364(C)(2) [DOC-239].
 19   5.        The Debtor’s Motion must be denied because there is simply not enough money in the
 20             proposed credit transaction to pay the arrearage to Selene Finance, LP (“Selene”) and the
 21             total outstanding balance due to YCCS, which as of February 1, 2020, is approximately
 22             $526,108.60. The loan proceeds of $620,000 and the Debtor’s additional contribution of
 23             $20,000 are not enough.
 24    Total Loan Proceeds and Debtor Contribution            $640,000
 25    Less: Points, Costs, Fees, and Property Taxes          $40,000
 26    Net Proceeds                                           $600,000

 27    Payment to Selene                                      $97,000
       Payment to YCCS                                        $526,000
 28


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  1    Balance                                               -($23,000)
  2
      6.        In his declaration at 15:2-6, the Debtor indicates that the gross loan proceeds and up to
  3
                $20,000 of the Estate’s funds will be used to pay the arrearage to Selene of approximately
  4
                $97,000, satisfy in full the YCCS’ claim of approximately $500,000 (which is $26,000
  5
                too low), and pay any outstanding property taxes, which YCCS believes would be at least
  6
                $4,000. However, the Debtor must also pay points of $31,000, fees of $2,940, and any
  7
                other costs associated with the escrow, not to mention additional attorneys’ fees for
  8
                Selene. Even if the Debtor continues to make monthly post -petition payments to Serene,
  9
                the Debtor will face a shortfall of at least $23,000 and will not have enough money to pay
 10
                in full YCCS.
 11
      7.        There is no basis to defer payment of attorneys fees to YCCS. There is no assurance that
 12
                the Debtor will have sufficient funds to pay in full those fees if and when they are
 13
                awarded. The Debtor had access to the breakdown and took no action to challenge or
 14
                oppose the fees.
 15
      8.        As of 2-1-2020, the outstanding obligation due and owing under the YCCS Note is
 16
                $526,108.60. That figure does not include certain additional costs and expenses,
 17
                including attorney’s fees and future interest that accrues under the Note.1
 18
      9.        The obligations set forth in the Note are secured solely by the Property, which is the
 19
                Debtor’s residence. YCCS holds no other security for repayment of the obligations in the
 20
                Note.
 21
      10.       As I have indicated for over seven months, YCCS will not consent to modify the terms of
 22
                the Note and must be paid in full on or before December 1, 2019.
 23
                I declare under penalty of perjury under the laws of the United States of America that the
 24
      foregoing is true and correct and that this Declaration was executed on January 24, 2020.
 25
                                                               ______________________________
 26                                                             CURTIS DEWEESE

 27
                1
               A true and correct copy of the breakdown of YCCS’ claim is attached hereto as Exhibit
 28
      “1' and is incorporated herein by this reference.

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  1                                DECLARATION OF BARUCH COHEN
  2             I, BARUCH C. COHEN, declare and state as follows:
  3   1.        The facts stated below are true and correct to the best of my personal knowledge and if
  4             called upon to testify to them, I could and would competently do so.
  5   2.        I am a member in good standing and eligible to practice before the following courts:
  6             California State Supreme Court; United States Court of Appeals - Ninth Circuit;
  7             Bankruptcy Appellate Panel; United States District Courts: Central District of California;
  8             Eastern District of California; Northern District of California; and Southern District of
  9             California.
 10   3.        I am the principal shareholder and President of The Law Office of Baruch C. Cohen, a
 11             Professional Law Corporation, located at 4929 Wilshire Boulevard, Suite 940, Los
 12             Angeles, California 90010.
 13   4.        I proudly represent Secured Creditor YCCS, LLC.
 14   5.        This declaration is support of YCCS’ OPPOSITION TO DEBTOR’S MOTION FOR
 15             ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT PURSUANT TO 11
 16             U.S.C. §364(C)(2) [DOC-239].
 17   6.        I was at the prior 12-10-2019 continued hearing re: Motion for Relief from Stay and the
 18             Debtor’s Motion to Refinance the Property and pay YCCS, where the Court expressed
 19             concern about the Debtor’s (in)ability to pay YCCS and would give him only a few weeks
 20             to perform. Specifically, the Court acknowledged stated as follows:
 21             THE COURT: Well, as I said -- yeah. I said in the tentative, because the loan has
                matured, and this is a loan secured by the principal residence of the Debtor as of
 22             the date of the petition, it’s non-modifiable in a plan. But Debtor can still take
                out the loan, but, you know, we’re getting to a year into the case, and we’re
 23             getting to the point whether it may be futile if the Debtor’s had a year.
 24             So, at this point, the Court knows, and I think everyone knows, that you cannot
                confirm a plan over the objection or to modify the loan of this creditor, but the
 25             Debtor can try to realize the equity in the property through taking out the lender.
 26             So, the question is, what is a reasonable time that this could happen? Because, if
                it’s futile, then I should grant relief from stay based on the cases that I cited in
 27             the tentative. [Emphasis added].
 28   [Transcript, p. 2, lines 13-25, p.3, lines 1-3].


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  1             THE COURT: But it seemed to me that the Court was going to allow Debtor a
                reasonable time to, one last chance to obtain financing, because, as I said, we’re
  2             getting long, pretty far along in this case, over a year, and the Debtor’s had an
                opportunity to obtain refinancing. [Emphasis added].
  3
      [Transcript, p. 11, lines 12-16].3
  4
      7.        Those weeks have come and gone, and there has been no payment to YCCS. Instead, the
  5
                Debtor filed a new credit motion and now seeks a further extension of time to pay YCCS.
  6
                December 1, 2019 was the deadline for payment to YCCS. The Debtor has not timely
  7
                paid YCCS, and the Debtor’s Motion must be denied.
  8
      8.        The Debtor’s Motion is fatally flawed procedurally and substantively and must be denied.
  9
                From a procedural standpoint, as stated in YCCS’ Response to Debtor’s Status Report
 10
                Regarding Relief from Stay Motion filed by YCCS [Doc-234]: all sums under YCCS’s
 11
                Note were due and payable on or before 12-1-2019; YCCS has not been paid any interest,
 12
                fees or amounts due for many. many months (even as of the 12-1-2019 deadline); the
 13
                Debtor’s failure to pay the sums due under the Note is an incurable default; the Debtor
 14
                cannot formulate a plan of reorganization because YCCS’ Note cannot be modified
 15
                pursuant to 11 U.S.C. § 1123(b)(5); any plan at this late point in time involving the
 16
                Property would violate 11 U.S.C. § 1129; & YCCS has presented evidence of cause under
 17
                11 U.S.C. § 363(d)(1) that the Lift Stay Motion be granted effective December 2, 2019.
 18
 19
                I declare under penalty of perjury under the laws of the State of California that the
 20
      foregoing is true and correct.
 21
                Executed January 25, 2020, at Los Angeles, California.
 22
 23                                                           By    /S/ Baruch C. Cohen
                                                              Baruch C. Cohen
 24
 25
 26
 27             3
               A true and correct copy of the transcript of the 12-10-2019 continued hearing re: Motion
      for Relief from Stay and the Debtor’s Motion to Refinance the Property is attached hereto as
 28
      Exhibit “2" and is incorporated herein by this reference

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                               EXHIBIT “1”
                  1/21/2020
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YCCS - Lee - Business Purpose Loan
Schedule of Advances and Accrued Interest

                                                                                         Cash
                                                                                     Advances/Late
                                                                                     NSF Fees (Not
                                                                                    Subject to Fee &     BK Cost Advances                          Interest Pmt.                Note Rate     Number of Days    Interest Accrual
          Period Start              Period End               Description                  Int.)        (Subject to Fee & Int.)   Loan Repayments       Recd                      (11.5%)       Outstanding       360 Day Year        Monthly Totals   Cumulative Balance


            11/20/17                              Funds Advanced Per Note                365,000.00                                                                                                                                                          365,000.00
            11/20/17                 11/30/17     Prorated Interest at Closing                                                                                                       11.50%              11             1,282.57          1,282.57           365,000.00
            11/20/17                              Pmt. at Closing Interest                                                                            (1,282.57)                                                                                             365,000.00
            12/01/17                 12/31/17     Int Due 1/1/18                                                                                                                     11.50%              30             3,497.92          3,497.92           365,000.00
            01/11/18                              Pmt. on Acct.                                                                                       (3,497.92)                                                                                             365,000.00
            01/01/18                 01/31/18     Int Due 2/1/18                                                                                                                     11.50%              30             3,497.92          3,497.92           365,000.00
            01/11/18                              Pmt. on Acct.                                                                                                                                                                                              365,000.00
            02/01/18                 02/28/18     Int Due 3/1/18                                                                                                                     11.50%              30             3,497.92          3,497.92           365,000.00
            03/01/18                              Pmt. on Acct.                                                                                       (3,497.92)                                                                                             365,000.00
            03/01/18                              Late Charge                                349.80                                                                                                                                                          365,000.00
            03/01/18                              Pmt. on Acct.                                                                                         (349.80)                                                                                             365,000.00
            03/01/18                 03/31/18     Int. Due 4/1/18                                                                                                                    16.50%              30             5,018.75          5,018.75           365,000.00
            03/30/18                              Late Charge                                349.80                                                                                                                                                          365,000.00
            03/30/18                              Pmt. on Acct.                                                                                       (3,497.92)                                                                                             365,000.00
            04/09/18                              NSF Pmt.                                                                                             3,497.92                                                                                              365,000.00
            04/09/18                              NSF Payment Charge                          25.00                                                                                                                                                          365,000.00
            04/09/18                              Pmt. on Acct.                                                                                         (349.80)                                                                                             365,000.00
            04/01/18                 04/30/18     Int. Due 5/1/18                                                                                                                    16.50%              30             5,018.75          5,018.75           365,000.00
            04/20/18                              Late Charge                                349.80                                                                                                                                                          365,000.00
            04/20/18                              Pmt. on Acct.                                                                                       (3,497.92)                                                                                             365,000.00
            04/20/18                              Pmt. on Acct.                                                                                         (349.80)                                                                                             365,000.00
            05/02/18                              Late charge                                349.80                                                                                                                                                          365,000.00
            05/02/18                              Pmt. on Acct.                                                                                       (3,497.92)                                                                                             365,000.00
            05/02/18                              Pmt. on Acct.                                                                                         (349.80)                                                                                             365,000.00
            05/01/18                 05/31/18     Int. Due 6/1/18                                                                                                                    16.50%              30             5,018.75          5,018.75           365,000.00
            05/31/18                              Pmt. on Acct.                                                                                       (5,018.75)                                                                                             365,000.00
            06/02/18                              Late Charge                                501.88                                                                                                                                                          365,000.00
            06/08/18                              Late Charge                                                                                           (501.88)                                                                                             365,000.00
            06/08/18                              NSF Pmt.                                                                                             5,018.75                                                                                              365,000.00
            06/08/18                              NSF Payment Charge                          25.00                                                                                                                                                          365,000.00
            06/01/18                 06/30/18     Int. Due 7/1/18                                                                                                                    16.50%              30             5,018.75          5,018.75           365,000.00
            07/05/18                              Late Charge                                501.88                                                                                                                                                          365,000.00
            07/05/18                              Int Pmt. on Acct.                                                                                   (5,018.75)                                                                                             365,000.00
            07/05/18                              Late Fee Pmt. on Acct.                                                                                    -                                                                                                365,000.00
            07/05/18                              Pmt. on Acct.                                                                                       (8,972.93)                                                                                             365,000.00
            07/06/18                              Late Charge                                501.88                                                                                                                                                          365,000.00
            07/13/18                              NSF Pmt.                                                                                             5,018.75                                                                                              365,000.00
            07/13/18                              NSF Payment Charge                          25.00                                                                                                                                                          365,000.00
            07/01/18                 07/31/18     Int. Due 8/1/18                                                                                                                    16.50%              30             5,018.75          5,018.75           365,000.00
            08/10/18                              Late Charge                                501.88                                                                                                                                                          365,000.00
            08/01/18                 08/30/18     Int. Due 9/1/18                                                                                                                    16.50%              30             5,018.75          5,018.75           365,000.00
            09/10/18                              Late Charge                                501.88                                                                                                                                                          365,000.00
            09/01/18                 09/30/18     Int Due 10/1/18                                                                                                                    16.50%              30             5,018.75          5,018.75           365,000.00
            10/10/18                              Late Charge                                501.88                                                                                                                                                          365,000.00
            10/01/18                 10/31/18     Int. Due 11/1/18                                                                                                                   16.50%              30             5,018.75          5,018.75           365,000.00
            11/10/18                              Late Charge                                501.88                                                                                                                                                          365,000.00
            11/01/18                 11/30/18     Int Due 12/1/18                                                                                                                    16.50%              30             5,018.75          5,018.75           365,000.00
            12/10/18                              Late Fee                                   501.88                                                                                                                                                          365,000.00
            12/01/18                 12/31/18     Int Due 1/1/19                                                                                                                     16.50%              30             5,018.75          5,018.75           365,000.00
            01/10/19                              Late Fee                                   501.88                                                                                                                                                          365,000.00
            01/01/19                 01/15/19     Int. Due 2/1/19                                                                                                                    16.50%              15             2,509.38                             365,000.00
            01/15/19                              Foreclosure Trustee Svcs. - SBS                                   5,446.00                                                                                                                                 370,446.00
            01/15/19                 01/31/19     Int. Due 2/1/19                                                                                                                    16.50%              15             2,546.82          5,056.20           370,446.00
            02/10/19                              Late Fee                                   501.88                                                                                                                                                          370,446.00
            02/01/19                 02/05/19     Int. Due 3/1/19                                                                                                                    16.50%               5               848.94                             370,446.00
            02/06/19                              BK Legal Fees - Cohen                                             2,500.00                                                                                                                                 372,946.00
            02/06/19                 02/28/19     Int. Due 3/1/19                                                                                                                    16.50%              25             4,273.34          5,122.28           372,946.00
            03/10/19                              Late Fee                                   501.88                                                                                                                                                          372,946.00
            03/01/19                 03/31/19     Int. Due 4/1/19                                                                                                                    16.50%              30             5,128.01          5,128.01           372,946.00
            04/10/19                              Late Fee                                   501.88                                                                                                                                                          372,946.00
            04/01/19                 04/23/19     Int. Due 5/1/19                                                                                                                    16.50%              23             3,931.47                             373,256.00
            04/24/19                              Regulator Fees - HCDILA                                             310.00                                                                                                                                 373,256.00
            04/24/19                 04/30/19     Int. Due 5/1/19                                                                                                                    16.50%               7             1,197.53          5,129.00           373,256.00
            05/10/19                              Late Fee                                   501.88                                                                                                                                                          373,256.00
            05/01/19                 05/30/19     Int. Due 6/1/19                                                                                                                    16.50%              29             4,961.19                             378,494.00
            05/31/19                              BK Legal Fees - Cohen                                             5,238.00                                                                                                                                 383,732.00
            05/31/19                 05/31/19     Int. Due 6/1/19                                                                                                                    16.50%               1               175.88          5,137.07           383,732.00
            06/10/19                              Late Fee                                   501.88                                                                                                                                                          378,494.00
            06/01/19                 06/30/19     Int. Due 7/1/19                                                                                                                    16.50%              30             5,204.29          5,204.29           378,494.00
            07/10/19                              Late Fee                                   501.88                                                                                                                                                          378,494.00
            07/01/19                 07/01/19     Int. Due 8/1/19                                                                                                                    16.50%               1               173.48                             378,494.00
            07/02/19                              BK Legal Fees - Cohen                                             1,375.00                                                                                                                                 379,869.00
            07/02/19                 07/31/19     Int. Due 8/1/19                                                                                                                    16.50%              29             5,049.09          5,222.57           379,869.00
            08/10/19                              Late Fee                                   501.88                                                                                                                                                          379,869.00
            08/01/19                              BK Legal Fees - Cohen                                             8,081.00                                                                                                                                 387,950.00
            08/01/19                 08/30/19     Int. Due 9/1/19                                                                                                                    16.50%              30             5,334.31          5,334.31           387,950.00
            09/10/19                              Late Fee                                   501.88                                                                                                                                                          387,950.00
            09/01/19                 09/02/19     Int. Due 10/1/19                                                                                                                   16.50%               2               355.62                             387,950.00
            09/03/19                              BK Legal Fees - Cohen                                            15,307.37                                                                                                                                 403,257.37
            09/03/19                 09/30/19     Int. Due 10/1/19                                                                                                                   16.50%              28             5,175.14          5,530.76           403,257.37
            10/10/19                              Late Fee                                   501.88                                                                                                                                                          403,257.37
            10/01/19                 10/31/19     Interest Due 11/1/19                                                                                                               16.50%              30             5,544.79          5,544.79           403,257.37
            11/10/19                              Late Fee                                   501.88                                                                                                                                                          403,257.37
            11/01/19                 11/13/19     Interest                                                                                                                           16.50%              13             2,402.74                             403,257.37
            11/14/19                              Court Call Appearance                                                35.00                                                                                                                                 403,292.37
            11/14/19                 11/30/19     Interest                                                                                                                           16.50%              17             3,142.32          5,545.06           403,292.37
            12/10/19                              Late Fee                                   501.88                                                                                                                                                          403,292.37
            12/01/19                 12/09/19     Interest                                                                                                                           16.50%               9             1,663.58                             403,292.37
            12/10/19                              Court Call Appearance                                                35.00                                                                                                                                 403,327.37
            12/10/19                 12/31/19     Interest                                                                                                                           16.50%              21             3,882.03          5,545.61           403,327.37
            01/10/20                              Late Fee                                   501.88                                                                                                                                                          403,327.37
            01/01/20                 01/12/20     Partial Month Interest                                                                                                             16.50%              12             2,218.30                             403,327.37
            01/13/20                              2020 Regulator Fees - HCDILA                                        155.00                                                                                                                                 403,482.37
            01/13/20                 01/31/20     Partial Month Interest                                                                                                             16.50%              18             3,328.73          5,547.03           403,482.37
                                                                                                                                                                                                                                                             403,482.37
            Totals                                                                        12,013.68                38,482.37                        (24,247.18) Total Int. Pmts.                                        Total Int.     131,010.81            403,482.37
        Amount Still Due                                                                                                                             10,112.60 Late Fees Due & NSF Fees Due                                                   -              403,482.37
                                                                                                                                                                                                              Interest Due 2/1/20      106,763.63            403,482.37


BK Costs & Fees Pending
BK Attorney/Costs - Cohen - Estimate to closing                                                                                                                                                                                                                 5,000.00
Payoff Demand Fees                                                                                                                                                                                                                                                250.00
Cost Advance Fees (Per Note
$50 x 10)                                                                                                                                                                                                                                                         500.00
Total BK Costs                                                                                                                                                                                                                                                  5,750.00


Interest Due                                                                                                                                                                                                                                                 106,763.63
Late & NSF fees                                                                                                                                                                                                                                               10,112.60
                                                                                                                                                                                                               Total Payoff as of 2/1/2020                   526,108.60




                  1/21/2020
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                               EXHIBIT “2”
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       1                    UNITED STATES BANKRUPTCY COURT
       2                    CENTRAL DISTRICT OF CALIFORNIA
       3                                  --oOo--
       4 In Re:                        )        Case No. 2:19-bk-10119-RK
                                       )
       5 DAVID LEE,                    )        Chapter 11
                                       )
       6            Debtor.            )        Los Angeles, California
         ______________________________)        Tuesday, December 10, 2019
       7                                        1:00 p.m.
       8                                      CONT’D HEARING RE: MOTION FOR
                                              RELIEF FROM STAY
       9

      10                       TRANSCRIPT OF PROCEEDINGS
                           BEFORE THE HONORABLE ROBERT KWAN
      11                    UNITED STATES BANKRUPTCY JUDGE
      12 APPEARANCES:

      13 For the Debtor:                      DAVID A. TILEM, ESQ.
                                              Law Office of David A. Tilem
      14                                      206 North Jackson Street
                                              Suite 201
      15                                      Glendale, California 91206
                                              (818) 507-6000
      16

      17 For YCCS, LLC:                       BARUCH C. COHEN, ESQ.
                                              Law Office of Baruch C. Cohen
      18                                      4929 Wilshire Boulevard
                                              Suite 940
      19                                      Los Angeles, California 90010
                                              (323) 937-4501
      20

      21 Court Recorder:                      Shafari Tatum
                                              United States Bankruptcy Court
      22                                      Edward R. Roybal Federal
                                                Building
      23                                      255 East Temple Street
                                              Los Angeles, California 90012
      24
         Proceedings recorded by electronic sound recording;
      25 transcript produced by transcription service.




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                                                                                   ii
       1 Transcriber:                         Briggs Reporting Company, Inc.
                                              2160 Fletcher Parkway
       2                                      Suite 209
                                              El Cajon, California 92020
       3                                      (310) 410-4151
       4

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                                                                                     1
       1   LOS ANGELES, CALIFORNIA TUESDAY, DECEMBER 10, 2019 1:00 PM
       2                                   --oOo--
       3       (Call to order of the Court.)
       4                THE COURT:   The Court will now call its 1:00
       5 o’clock calendar.       Item number six, David Lee.         This is the
       6 motion for relief from stay by YCCS, LLC.

       7                Appearances.
       8                MR. COHEN:   Good afternoon, your Honor.         Baruch
       9 Cohen appearing on behalf of YCCS.

      10                THE COURT:   Do we have counsel --
      11                MR. TILEM:   Good afternoon, your Honor.         David
      12 Tilem, Law Offices of David A. Tilem -- good afternoon, your

      13 Honor.    Law Offices of David A. Tilem appearing on behalf of
      14 the Debtor.

      15                THE COURT:   We have a continued hearing on this
      16 motion, and there are declarations that were recently filed

      17 last week.      First by the creditor and counsel for the
      18 creditor and the loan broker.

      19                I was going to ask, Mr. Tilem, do you have more
      20 information about when the Debtor would be able to obtain

      21 approval of a loan?

      22                MR. TILEM:   Your Honor, we are pursuing all three
      23 lenders simultaneously.         The timing is up to them.          I was
      24 going to bring the loan broker into court today, but the

      25 tentative told me I didn’t need to, so I didn’t.               But it’s




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       1 completely up to the lenders at this point.

       2                THE COURT:   Do you have a timetable of when -- I
       3 know it’s up to the lenders, but do you have a time, an

       4 estimate as to -- from your broker, when a decision on these

       5 three applications could be made?

       6                MR. TILEM:   Yes, your Honor.      According to the
       7 declaration that we filed, the loan broker believes it’s a

       8 matter of weeks.

       9                THE COURT:   “Matter of weeks.”      All right.
      10                Well, as I said in the tentative --
      11                MR. TILEM:   I would extend that because of the
      12 holiday season, but other than that.

      13                THE COURT:   Well, as I said -- yeah.        I said in
      14 the tentative, because the loan has matured, and this is a

      15 loan secured by the principal residence of the Debtor as of

      16 the date of the petition, it’s non-modifiable in a plan.

      17 But Debtor can still take out the loan, but, you know, we’re

      18 getting to a year into the case, and we’re getting to the

      19 point whether it may be futile if the Debtor’s had a year.

      20                So, at this point, the Court knows, and I think
      21 everyone knows, that you cannot confirm a plan over the

      22 objection or to modify the loan of this creditor, but the

      23 Debtor can try to realize the equity in the property through

      24 taking out the lender.

      25                So, the question is, what is a reasonable time




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       1 that this could happen?         Because, if it’s futile, then I
       2 should grant relief from stay based on the cases that I

       3 cited in the tentative.         But because there’s valuable equity
       4 in the property that could be used to pay creditors, it

       5 seems that Debtor should have reasonable time to get

       6 refinancing.

       7                And I realize from the last loan, the
       8 circumstances that explain the failure of the last

       9 refinancing effort, you know, given such a short time line

      10 you know, it may not have been reasonable to expect the

      11 closing to have taken place.

      12                Do you have any comments, Mr. Tilem?         That’s my
      13 take.

      14                MR. TILEM:   Yes, your Honor.      The loan broker,
      15 based on his experience and expertise, included in the

      16 declaration his opinion that this loan is achievable.                 And
      17 he said a matter of weeks, but I’m not sure if he took into

      18 consideration the end of the year holidays.

      19                THE COURT:   All right.     I know I haven’t given Mr.
      20 Cohen an opportunity to be heard, which I should give him an

      21 opportunity to be heard.         Because his position is the Court
      22 should grant stay relief at this time because the loan has

      23 matured, and the settlement fell through because the loan

      24 didn’t go through.        So his client is still waiting, and
      25 we’re almost a year into the case.




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       1                So, it seems to me that he has, you know, some
       2 merit to his client’s position.          So -- but I’ll let him
       3 speak for himself.

       4                MR. COHEN:   Thank you, your Honor.        You did
       5 summarize my client’s position.          To add to that, the Debtor
       6 has not paid my client for over 18 months, and has been

       7 promising refinancing for all this time.            And the refinance
       8 is nothing more than talk.

       9                Since the beginning of this Chapter 11, almost 12
      10 months ago, the Debtor claims that he had plans on

      11 refinancing.      No success at all.      And over the past month --
      12 four months, this specific loan broker failed to find any

      13 new lender, and this same loan broker writes a declaration

      14 saying that it will be a matter of weeks, no timetable was

      15 offered, and he provides no evidence.

      16                What were we looking for?      We were looking for a
      17 pre-approval letter.        He didn’t provide one.        Or even a pre-
      18 qualification letter from any lender.           He hasn’t provided
      19 any.   These are the most basic forms of potential pre-
      20 qualifications that could have and should have been

      21 provided.      And that’s since this talk of refinance is
      22 nothing more than talk.

      23                We believe that the motion to lift the automatic
      24 stay should be granted.         And if the Court, if the Court
      25 seems to be leaning towards this option of the, giving the




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       1 Debtor another opportunity, I’ll address that after the

       2 Court indicates whether, you know, whether it will grant our

       3 motion to lift the stay or not.          Those are my comments vis-
       4 a-vis granting the motion.

       5                THE COURT:   Well, I wanted to make sure that, you
       6 know, I fully heard what you had -- wanted to say, Mr.

       7 Cohen.

       8                MR. COHEN:   Also, the Debtor can attempt to cure
       9 before the foreclosure of the sale in state court.                 If the
      10 Debtor wants to be able to save its equity, he can do so.

      11 We believe the motion should be lifted.            The Debtor can
      12 still cure its default prior to the auction sale by paying

      13 off the delinquencies per state law.           But vis-a-vis,
      14 bankruptcy court, our job is done.           It’s incurable.
      15                They didn’t make the deadline payment.          And as per
      16 the Court’s tentative, we’re entitled to a lifting of the

      17 stay now.      And absent anything presented by this Debtor,
      18 there’s nothing to rely on to continue this charade.

      19                THE COURT:   Mr. Tilem, did you want to respond?
      20                MR. TILEM:   Briefly, your Honor.       The motion
      21 contains -- the borrowing motion contains a document from

      22 the lender, which makes it clear that this is not a mere

      23 charade, but rather, there was a lender and a loan in

      24 process.       The document is pretty clear.       So, I think counsel
      25 overstates his client’s position.




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       1                With respect to the granting of potential relief,
       2 and allowing the Debtor to have its state court remedies,

       3 the Court is already aware that there is a dispute over the

       4 amount and allowability of attorney fees in this case.

       5                And there is no effective mechanism in state court
       6 for addressing that, short of filing a brand new action

       7 seeking an injunction and some sort of determination from

       8 the state court, which would take an extended period of

       9 time.

      10                Whereas, the issue is more or less teed up before
      11 this Court, and can be decided, I think, relatively

      12 expeditiously if we continue to have that dispute.

      13                So, this is a situation where there’s
      14 approximately, if I remember correctly, $250,000 worth of

      15 equity that is at risk.         The creditor is not going to lose
      16 anything.      The interest continues to accrue.          And they are
      17 adequately protected by the equity cushion.

      18                So while I appreciate that this loan has fallen
      19 through, there’s no real prejudice to the lender by taking

      20 the course of action that the Court has proposed in its

      21 tentative.

      22                THE COURT:   Well, let -- didn’t you want to
      23 comment, because I was going to comment?

      24                MR. COHEN:   Sure.
      25                THE COURT:   But I’ll let you -- I want to make




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       1 sure that you --

       2                MR. COHEN:   Thank you.
       3                THE COURT:   -- are able to say what you wanted to
       4 say.

       5                MR. COHEN:   The notion of whatever the Debtor
       6 plans to do in state court, is really of no import in the

       7 bankruptcy court.       If the Debtor to file that motion and
       8 that injunction, he would have to post a bond for the full

       9 amount of my client’s claim, which would protect my client.

      10                So, if the Debtor wants to do that, it’s a form of
      11 added security, that’s great, but it’s not the purview

      12 before this Court.        And there’s no motion pending regarding
      13 an objection to my client’s claim, it’s just talk.

      14                So, again, we don’t have a pre-approval letter.
      15 We have no pre-qualification letter.           We just have a pie in
      16 the sky promise that within a few weeks -- by the way, a

      17 year could be within a few weeks, too.            You know, there’s no
      18 end.

      19                And the Debtor did not answer your Honor’s
      20 question about a timetable.         Without that timetable, it’s an
      21 open-ended check with no end.          We feel that the stay should
      22 be lifted now.

      23                If the Court is leaning towards granting this form
      24 of extension, we ask that it be the shortest possible form

      25 of extension.       We ask that the order be granted now, with a




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       1 stay until that continued date.

       2                THE COURT:    Mr. Tilem, what reasonable time do you
       3 think it would take to get loan approval?             I had indicated
       4 60 to 90 days should --

       5                MR. TILEM:    Your Honor, I would ask to the end of
       6 January.

       7                THE COURT:    “End of January”?     End of January,
       8 that’s 60 days.

       9                MR. TILEM:    Yes, your Honor.     There is a long
      10 delay in the communication, so I apologize for that.                It’s
      11 difficult to know when you’re done and when I’m starting.

      12                MR. COHEN:    Your Honor, YCCS’s position is that
      13 we’re entitled to the order now.          If this Debtor, who, by
      14 the way, just as an aside, and this is dicta and it’s not in

      15 front of the Court.         But I looked at the Debtor’s loan
      16 application, and he didn’t disclose that he had tax debt,

      17 and now we see an I.R.S. tax lien on the property.                 So, you
      18 know, when the Debtor asks for equity, they have to do

      19 equity, and we think that it’s completely bad faith.

      20                But, nevertheless, if the Court grants the order
      21 now and suspends enforcement, or the effective date of the

      22 order until January, until the end of January, we would like

      23 it on the explicit condition that there is no further

      24 wrangling regarding YCCS’s claim, no threats of litigation.

      25 If we’re going to agree to it, then the Debtor has to agree




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       1 to stop threatening to challenge the claim.

       2                THE COURT:   Did you want to comment on Mr. Cohen’s
       3 requests or conditions?

       4                MR. COHEN:   May I sit?
       5                THE COURT:   Either way.     Go ahead.
       6                MR. TILEM:   Yes, your Honor.      Number one, I don’t
       7 know anything about a tax lien.          And if somebody recorded a
       8 tax lien, that would be a violation of the stay.               So, that’s
       9 not either appropriate or not true.

      10                And, secondly, the estate should not be penalized
      11 or punished by having to pay inappropriate legal fees if

      12 this matter is continued.         The legal fees have to be
      13 reasonable under all of the state law and the instruments.

      14 Whether they are or not is a matter of some dispute.

      15                Nobody is disputing the principal balance.
      16 Nobody’s disputing the interest.          Nobody’s disputing the
      17 late fees.      Nobody’s disputing anything other than what we
      18 believe to be substantially excessive legal fees.               Other
      19 than that, we don’t have a problem.

      20                I mean, the Debtor certainly understands there
      21 must be an end to this at some point, but $250,000 worth of

      22 equity is not trivial, and the estate should not lose that

      23 based on its inability to act as quickly as the creditor

      24 might like.

      25                THE COURT:   Let me ask you, Mr. Tilem.         Let’s say




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       1 your client obtains loan approval and an escrow is opened.

       2 So, how is the payoff demand of the, this lender to be

       3 treated through the escrow, if there’s a dispute?

       4                MR. TILEM:   Your Honor, we just come back to the
       5 Court and file a new borrowing motion.            The last one was
       6 specific to the particular transaction that fell through.

       7                And we would propose -- I will contact Mr. Cohen
       8 in advance to determine the amount of his client’s claim.

       9 We will look at the reasonableness of attorney fees, and

      10 propose that amount.

      11                If it -- if we believe that the amount is more
      12 than what we think is reasonable, I’m happy to perform the

      13 perfunctory step of filing a claim objection, but that just

      14 seems rather unnecessary, but I’ll do it, if counsel finds

      15 that to be a predicate for challenging the fee amount.

      16                And then we can just escrow disputed amounts, and
      17 your Honor can decide the amount of the fees at a later

      18 time.   With the, all of the principal and interest and other
      19 charges being paid directly from escrow.

      20                THE COURT:   Well, I think that makes sense not to
      21 bring an objection at this time.          Because right now, the
      22 interest is -- and fees are accruing under the contract.

      23 And until there’s a payoff or an escrow opened, it’s going

      24 to be recomputed.

      25                And, hopefully, the parties will be able to reach




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       1 some sort of agreement, although I can understand that the

       2 lender may feel frustrated in that he agreed to a fixed

       3 amount, hoping that he would get his money back and this

       4 would be done with, but that didn’t happen because the loan

       5 fell through.

       6                But what I was going to suggest is, you know, I
       7 can’t get, I can’t necessarily force anyone to agree to a

       8 continuance.      So the reason why I put, you know, deny, based
       9 on the efforts to refinance, was so that if Mr. Cohen’s

      10 client wanted to take an appeal based on this record, you

      11 know, he could do so and test the Court’s ruling.

      12                But it seemed to me that the Court was going to
      13 allow Debtor a reasonable time to, one last chance to obtain

      14 financing, because, as I said, we’re getting long, pretty

      15 far along in this case, over a year, and the Debtor’s had an

      16 opportunity to obtain refinancing.

      17                And what Mr. Rouse (phonetic) said was promising,
      18 but as Mr. Cohen pointed out, you know, that the default has

      19 been in place since 18 months ago.           So, the Court should
      20 give a reasonable time for the Debtor to realize the equity

      21 for the creditors, but I think there’s a limit in this case

      22 where, you know, it may not be feasible or -- it may be

      23 futile to give additional time.

      24                And so, I was going to deny without prejudice the
      25 motion, and it could be re-brought.           But, you know, if the




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       1 creditor wants to have a continued hearing on the motion

       2 without having to bring a motion, you know, that would be

       3 fine, too.

       4                MR. COHEN:   Would your --
       5                THE COURT:   Because I don’t want to foreclosure.
       6 If you don’t think the Court’s ruling is right, then you

       7 should be able to test it.

       8                MR. COHEN:   It’s not that we don’t think the
       9 Court’s ruling is right.         We feel that the better approach
      10 is to grant the motion, suspend the effective date until the

      11 end of January, so that this way my client is entitled to

      12 the relief that it seeks.

      13                There’s a defaulting debtor who cannot cure.            And
      14 that if this Debtor can pull it together, then great.                 He’ll
      15 pay off my client before the continued date.              But my client
      16 is entitled to that lift stay order now.            We’ll just
      17 stipulate to continue the effective date of the order.

      18                THE COURT:   Well, the reason why I was not
      19 inclined to follow that suggestion was that if there’s some

      20 hang-up about, you know, the loan closing because of -- you

      21 know, by a few days or whatever, I’d rather not grant relief

      22 from stay and have to retract that.           But I would consider it
      23 if little progress is made in getting a refinancing by the

      24 end of January.

      25                MR. COHEN:   And how do we track whether this




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       1 little process was made?

       2                THE COURT:   Well, we have a hearing, and we’ll
       3 have to have some proof of the fact that there’s a

       4 transaction in progress.

       5                MR. COHEN:   Well, given the two options, you know,
       6 between a denial and taking it up on the writ, versus a

       7 continuance --

       8                THE COURT:   Well, it’d be an appeal.
       9                MR. COHEN:   “Appeal.”    I would take the
      10 continuance, but I would ask the Court to again reconsider

      11 and grant me the order, and just give me the -- stay the

      12 effective date.

      13                THE COURT:   Well --
      14                MR. COHEN:   I’m not -- by the way, I don’t --
      15                THE COURT:   -- well, I think this is going to be
      16 the last time, because it’s already been continued since, I

      17 believe, July.       And we went through a round that there --
      18 the Debtor was trying to get refinancing, and actually had

      19 an application pending, but then it didn’t go through.

      20                So, I think since you originally brought the
      21 motion, and I realize that it’s, it will be six months from

      22 the time that the motion was originally filed back in

      23 January -- back in July, that that would appear to be ample

      24 time for the Debtor to get refinancing.            That’s the way I
      25 look at it.




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       1                Do you have any other comments, Mr. Cohen?
       2                MR. COHEN:   I’ll -- of the two options, I’ll take
       3 the continued option.

       4                THE COURT:   All right.
       5                Mr. Tilem, do you have any other comments?           I want
       6 to make sure that you’re heard as well.

       7                MR. TILEM:   Thank you, your Honor.        No further
       8 comments.

       9                THE COURT:   All right.     So, further hearing.
      10                You were saying end of January, Mr. Tilem?
      11                MR. TILEM:   Yes, your Honor.
      12                THE COURT:   So, January 28th at 11:00?
      13                MR. TILEM:   That’s fine for the Debtor, your
      14 Honor.

      15                THE COURT:   All right.     Mr. Cohen?
      16                MR. COHEN:   January 28th is good, your Honor.
      17                THE COURT:   All right.     The Court will continue
      18 this hearing, January 28th, 2020 at 11:00 a.m.

      19                Is notice waived?
      20                MR. COHEN:   Notice is waived.      And can we appear
      21 by court call, if necessary?

      22                THE COURT:   Yes.   Yes, absolutely.       You don’t have
      23 to come in.

      24                MR. COHEN:   Thank you very much, your Honor.
      25                THE COURT:   All right.     Anything -- but I would




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       1 expect to hear some progress, Mr. Tilem.            And if you could
       2 file something in advance to show that process is being

       3 made.

       4                MR. TILEM:   Your Honor, we --
       5                THE COURT:   You know, whether it’s --
       6                MR. TILEM:   Notice is waived and --
       7                THE COURT:   -- a declaration of loan broker or
       8 something --

       9                MR. TILEM:   -- we will file something, if there is
      10 no --

      11                THE COURT:   -- showing that something is
      12 happening.

      13                MR. COHEN:   When will that filing be due by the
      14 Debtor?

      15                THE COURT:   Well, I would ask before the hearing,
      16 but, you know, the hearing’s going to come soon enough.

      17                Mr. Tilem.
      18                MR. TILEM:   Your Honor, we will file something as
      19 soon as we have information from the lender.              I’m not going
      20 to wait until January 27.         We’ll certainly loop counsel in,
      21 so that he knows.       I want to get an updated figure from him
      22 once we get closer.

      23                And, certainly, I will make the loan broker
      24 available, whether for deposition or cross-examination, if

      25 counsel wishes to follow that path as well.




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       1                THE COURT:    Well, hopefully, we won’t have to do
       2 that.    I’m hoping that your broker is able to work some
       3 magic and get a loan in place to pay off the lender, because

       4 I think that’s in everybody’s interest, to take the lender

       5 out.    You know, the lender has to be taken out, or otherwise
       6 -- because there’s no alternative for the estate.

       7                And to the extent that he can work his magic over
       8 the holidays, you know, that would be great.              So, good luck
       9 with that.      All right.    Thank you.
      10                MR. COHEN:    Thank you very much, your Honor.
      11                THE COURT:    Thank you.    Thank you, Mr. Cohen.
      12                Thank you, Mr. Tilem.
      13                All right.    Anyone who wants to check in for the
      14 1:30 calendar may do so.

      15                MR. TILEM:    Thank you, your Honor.
      16         (Proceedings concluded.)
      17

      18

      19                I certify that the foregoing is a correct
      20 transcript from the electronic sound recording of the

      21 proceedings in the above-entitled matter.

      22

      23 /s/ Holly Steinhauer                  1-24-20
         Transcriber                           Date
      24

      25




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                                       PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 4929
Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: YCCS’ OPPOSITION TO DEBTOR’S MOTION FOR ORDER
AUTHORIZING DEBTOR TO OBTAIN CREDIT PURSUANT TO 11 U.S.C. § 364(C)(2) [DOC-239]; DECLARATIONS
OF CURTIS DEWEESE AND BARUCH C. COHEN will be served or was served (a) on the judge in chambers in the form
and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
1/26/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

David A Tilem for Debtor, David Lee
         davidtilem@tilemlaw.com, davidtilem@ecf.inforuptcy.com; joanfidelson@tilemlaw.com; joanfidelson@ecf.inforuptcy.com;
         dianachau@tilemlaw.com; malissamurguia@tilemlaw.com; malissamurguia@ecf.inforuptcy.com
Sean C Ferry for Selene Finance LP
         sferry@rasflaw.com, sferry@ecf.courtdrive.com
Todd S Garan for JPMorgan Chase N.A.
         ch11ecf@aldridgepite.com, TSG@ecf.inforuptcy.com; tgaran@aldridgepite.com
Nichole Glowin for Green Lawn Mortgage
         nglowin@wrightlegal.net, BKUDGeneralupdates@wrightlegal.net
Blake J Lindemann for MMRC, LLC
         Blake@lawbl.com, Nataly@lawbl.com
Erica T Loftis Pacheco for Rehabbers Financial Inc, dba Aztec Financial
         erica.loftispacheco@bonialpc.com
Valerie Smith for PRA Receivables Management LLC
         claims@recoverycorp.com
Edward A Treder (IP)       cdcaecf@bdfgroup.com
US Trustee (LA)            ustpregion16.la.ecf@usdoj.gov
Hatty K Yip (TR)           hatty.yip@usdoj.gov


2. SERVED BY UNITED STATES MAIL: On 1/26/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 1/26/2020, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Hon. Robert N. Kwan, USBC, Central District of California, 255 E. Temple Street, Suite 1682, Los Angeles CA 90012


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/26/2020                    Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                         Printed Name                                                    Signature


          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

August 2010                                                                                       F 9013-3.1.PROOF.SERVICE
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David Lee                                        Chase
840 Dunsmuir Ave                                 POB 901076
Los Angeles CA 90036                             Ft. Worth, TX 76101

Amer Assist AR Solutions, Inc.                   Target RedCard
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Columbus, OH 43226-0095                          Sioux Falls SD 57117-5332

Comenity-Total Rewards Visa                      US BANK
P.O. Box 659450                                  PO Box 108
San Antonio, TX 78265-9450                       Saint Louis, MO 63166-0108

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PO Box 51908                                     4601 Frederica Street
Los Angeles, CA 90051-6208                       Owensboro, KY 42301-7439

First National Bank                              Virgin America
PO Box 2557                                      PO Box 659450
Omaha, NE 68103-2557                             San Antonio, TX 78265-9450

Franchise Tax Board                              BSI Financial Services
PO Box 942840                                    314 S. Franklin Street, 2nd Floor
Sacramento, CA 94240-0001                        Titusville, PA 16354-2168

Internal Revenue Service                         LA Co. Treasurer and Tax Collector
P.O. Box 7346                                    PO Box 54110
Philadelphia, PA 19101                           Los Angeles, CA 90054-0110

LA DWP                                           LOANCARE A Servicelink Co.
111 N Hope St                                    PO Box 8068
Los Angeles., CA 90012-2607                      Virginia Beach, VA 23450-8068


ORBITZ                                           Pentagon Federal Credit Union
PO Box 659450                                    9494 Miramar Rd
San Antonio, TX 78265-9450                       San Diego, CA 92126-4417

Mercury Payments Services LLC                    Synchrony Bank
Card Services                                    Margaret Keane, CEO
PO Box 70168                                     170 W Election Rd Ste. 125
Philadelphia, PA 19176-0168                      Draper, UT 84020-6425

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Law Offices of Renee Estelle Sanders             Mark Hanf, CEO
3450 Wilshire Blvd Ste 1214                      1555 Grant Ave
Los Angeles, CA 90010-2208                       Novato, CA 94945-3120

Discover Bank                                    USBank N.A.
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